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                                                       THE HONORABLE MARSHA J. PECHMAN
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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
 7 MARIJA PAUNOVIC and DUSAN
   PAUNOVIC, individually and on behalf of all
 8                                                         NO. 2:21-cv-00884-MJP
   others similarly situated,
 9                                                         PLAINTIFFS’ SUPPLEMENTAL
                           Plaintiffs,                     MOTION FOR FINAL APPROVAL
10                                                         OF CLASS ACTION
           v.                                              SETTLEMENT AND
11                                                         ATTORNEYS’ FEES AND COSTS
   OBI SEAFOODS LLC, an Alaska corporation,
12                                                         NOTED FOR CONSIDERATION:
   and OCEAN BEAUTY SEAFOODS LLC, an
                                                           DECEMBER 3, 2024
13 Alaska corporation,

14                         Defendants.
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17                                       I.     INTRODUCTION
18          On September 6, 2024, Plaintiffs Marija Paunovic and Dusan Paunovic filed their motion
19 for final approval of the class action settlement and attorneys’ fees and costs in this matter. ECF

20 No. 240. In that motion, they informed the Court that they would file a supplemental motion for

21 final approval updating the Court on the final number of opt-outs and objections no later than

22 October 28, twenty-one days after the deadline for class members to file requests to opt-out or

23 object to the proposed settlement. Id. at 16.

24          Plaintiffs now file this supplemental motion to inform the Court that no Class Members
25 opted out of the settlement or objected to it. The reaction of the Class to the proposed settlement

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     PLAINTIFFS’ SUPPLEMENTAL MOTION FOR FINAL APPROVAL OF
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 1 has been positive. Accordingly, Plaintiffs respectfully ask the Court to grant their motion for

 2 final approval of the class action settlement and attorneys’ fees and costs, ECF No. 240.

 3                                      II.      BACKGROUND

 4         On September 9, one business day after Plaintiffs filed their motion for final approval and

 5 attorneys’ fees and costs, settlement administrator Simpluris posted the motion, along with the

 6 declarations of Class Counsel Toby J. Marshall and Tamara Kenworthey and Simpluris Senior

 7 Project Manager Markus Bulthuis. See Supplemental Declaration of Toby J. Marshall (Marshall

 8 Suppl. Decl.) ¶ 2.

 9         Out of 2,330 notice packets sent to Class Members via First Class Mail, 456 were

10 ultimately undeliverable, representing an 80.4 percent success rate by mail. Supplemental

11 Declaration of Markus Bulthuis (Bulthuis Suppl. Decl.) ¶ 5. Simpluris also sent notice via email

12 to 971 Class Members, with 964 (or 99.3 percent) successfully reaching their destination. Id. ¶ 6.

13 Moreover, 223 of the Class Members who could not be given notice by First Class Mail were

14 successfully given notice by email. Id. This means that out of 2,476 Class Members identified by

15 Defendants, 2,097 (or 84.7 percent) successfully received notice by mail or email. Id. ¶ 7.

16         As of October 7, the deadline for Class Members to opt out or object, the settlement

17 website had been visited by 309 unique visitors with 2,251 page views. Id. ¶ 8. Of these, 113

18 unique visitors and 509 page views occurred after September 9 when Plaintiffs’ motion for final

19 approval and attorney’s fees and costs––along with Class Counsel’s declarations regarding their

20 fees and costs––were available for Class Members to review on the website. Id. Simpluris

21 received electronic payment information through the settlement website from fifty-five Class

22 Members who elected to receive their settlement award electronically. Id. ¶ 9.

23         Simpluris has not received any requests from Class Members to opt-out of the settlement,

24 and it has received no objections. Id. ¶¶ 10-11.

25                                        III.    ARGUMENT

26         The notice program was successful, reaching 84.7 percent of Class Members by mail or

27 email. Those Class Members were adequately informed of their rights and options, the settlement
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 1 website received hundreds of unique visitors and thousands of page views, and fifty-five Class

 2 Members took advantage of the option to receive their payment electronically. After the forty-

 3 seven-day notice period––twenty-eight of which had Class Counsel’s request for attorneys’ fees

 4 and costs posted on the settlement website––no Class Members have opted out of the proposed

 5 settlement, and no Class Members objected.

 6          Such a positive response to the proposed settlement demonstrates that the relief obtained

 7 for Settlement Class Members is fair, reasonable, and adequate. See Fossett v. Brady Corp., 2021

 8 WL 2273723, at *9 (C.D. Cal. Mar. 23, 2021) (“[T]he absence of a large number of objections to

 9 the proposed class action settlement raises a strong presumption that the terms . . . are favorable

10 to the class members.”) (quoting Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D.

11 523, 529 (C.D. Cal. 2004)); see also Baker v. SeaWorld Ent., Inc., 2020 WL 4260712, at *8

12 (S.D. Cal. July 24, 2020) (absence of many objectors supports settlement as fair, reasonable, and

13 adequate); In re Austrian & German Bank Holocaust Litig., 80 F. Supp. 2d 164, 175 (S.D.N.Y.

14 2000) (“If only a small number of objections are received, that fact can be viewed as indicative

15 of the adequacy of the settlement.”) (citations omitted); Morgan v. Childtime Childcare, Inc.,

16 2020 WL 218515, at *2 (C.D. Cal. Jan. 6, 2020) (“Lack of objection speaks volumes for a

17 positive class reaction to the settlement. The Court thus finds the settlement is fair, reasonable,

18 and adequate.”).

19                                        IV.    CONCLUSION

20          For the foregoing reasons, and those in their motion for final approval, ECF No. 240,

21 Plaintiffs respectfully ask the Court to grant their motion and enter an order: (1) approving the

22 Settlement Agreement as fair, reasonable, and adequate; (2) determining that adequate notice

23 was provided to Class Members; (3) granting Class Counsel $630,000 in attorneys’ fees and up

24 to $100,000 in costs; (4) approving the requested service payments to Plaintiffs of $10,000 each;

25 (5) approving settlement administration costs of up to $32,000; and (6) dismissing this action

26 with prejudice.

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 1         RESPECTFULLY SUBMITTED AND DATED this 28th day of October, 2024.

 2                                        TERRELL MARSHALL LAW GROUP PLLC
 3
                                          I certify that this memorandum contains 809 words
 4                                        in compliance with the Local Civil Rules.

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